Case No. 1:08-cv-01756-RPM Document 1-2 filed 08/18/08 USDC Colorado pgiof1

Court Name: U.S. District Court, Colorad

a

bivision: |

Receipt Number: COX@i2267
Cashier ID: sg

Transaction Date: 98/18/2288
Payer Name: JACK A ENGLERT JR

CIVIL FILING FEE
Fors JACK 4 ENGLERT JR
Amount: $356. 88

CREBIT CARD
fiat Tendered: $358.68

Fotal Bue: $354,98
Total Tendered: $358.08
Change Awt: $4. 08

88-CV-81756

A fee of $45.88 will be assessed on
any teturned check.
